           Case 4:20-cv-40047-TSH Document 1 Filed 04/29/20 Page 1 of 11




                                  UNITED STATES OF AMERICA
                              DISTRICT COURT OF MASSACHUSETTS


TAYLOR PINCKNEY,                                       )
Plaintiff,                                             )
                                                       )
v.                                                     )     Civil Action No. 4:20-cv-40047
                                                       )
QUINSIGAMOND COMMUNITY COLLEGE, and                    )
PRISCILLA UNDERWOOD, in her Individual and             )
Official Capacity as a Professor at                    )
Quinsigamond Community College,                        )
         Defendant.                                    )


                                            COMPLAINT

                                           THE PARTIES

     1. The Plaintiff, Taylor Pinckney, is an individual who resides at 45 Pearl Street, Worcester
        County, Leominster, Massachusetts 01453.

     2. The Defendant, Quinsigamond Community College, is a public institution of higher
        education located at 670 West Boylston Street, Worcester County, Worcester,
        Massachusetts. At all times relevant to this Complaint, Quinsigamond Community
        College (“QCC”) was the employer of Defendant Priscilla Underwood.

     3. The Defendant, Priscilla Underwood, is an individual who resides in Worcester County,
        Massachusetts.

                                    JURISDICTION AND VENUE

     4. Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 and 1343.

     5. Venue is proper in this Court because all events giving rise to the cause of action
        occurred in the city of Worcester, Massachusetts and all parties reside in Worcester
        County, Massachusetts.

                                               FACTS

     6. Mr. Pinckney is an adult male who started attending classes full-time at QCC in
        September of 2018 as part of the Computer Information Systems Program.


                                                 1
      Case 4:20-cv-40047-TSH Document 1 Filed 04/29/20 Page 2 of 11




7. At all times relevant to this Complaint, Mr. Pinckney was and continues to be classified
   as a qualified disabled person within the meaning of applicable provisions of Section 504
   of the Rehabilitation Act of 1973, 29 U.S.C. § 794 (“Section 504”), and Title II of the ADA,
   as amended by the Amendments Act of 2008, 42 U.S.C. § 12131, et seq. (“ADAA”).

8. As such, Mr. Pinckney requires and is entitled to reasonable accommodations in the
   educational setting for his disabilities, he is entitled to participate in and receive the
   benefits of equal access to the Defendants’ educational programs and services, he is
   entitled to be free from discrimination based on his disability in the provision of those
   programs/services, and he is entitled to be free from retaliation or intimidation for
   attempting to enforce his clearly established rights under both state and federal law.

9. QCC is a public institution of post-secondary education, and thus, is subjected to the
   requirements of both Section 504 and the ADAA.

10. Mr. Pinckney was diagnosed with Schizophrenia in approximately 2008 and suffers from
    cognitive, emotional, and learning disabilities. As a result, he requires certain academic
    adjustments and reasonable accommodations in order to be able to complete his
    coursework.

11. Despite his disability, Mr. Pinckney has always exhibited a passion for school and works
    hard to achieve his educational goals. Prior to starting at QCC, Mr. Pinckney graduated
    as the co-valedictorian of his high school and never experienced any issues with
    teachers as it pertained to his disability.

12. Prior to beginning classes at QCC in the Fall of 2018, Mr. Pinckney informed the QCC
    Disability Services Department of his disabilities and requested reasonable
    accommodations. Disability Services agreed to provide accommodations for Mr.
    Pinckney, and those accommodations were documented in a form provided by the
    Department.

13. The accommodations that QCC agreed to provide included: recording lectures, receiving
    copies of class notes, being able to use a calculator, extended time to take examinations
    and complete in-class graded assignments, placement in a less distracting setting during
    examinations and in-class graded assignments, having a math chart during exams,
    additional guidance/assurance of his understanding on directions for exams and in-class
    assignments, and the ability to leave the classroom when/if he experiences increased
    disability symptoms.

14. On or about September 6, 2018, Mr. Pinckney sent his approved accommodations to all
    of his professors for the upcoming fall semester. This included Defendant Priscilla
    Underwood (“Underwood”), who was his English professor. That same day, Underwood
    emailed back requesting that Mr. Pinckney bring a hard copy of his approved
    accommodations to class, which he agreed to do.

                                             2
      Case 4:20-cv-40047-TSH Document 1 Filed 04/29/20 Page 3 of 11




15. Throughout the Fall 2018 semester, Underwood inflicted discriminatory treatment upon
    Mr. Pinckney because of his disability in the form of yelling, scolding, singling
    out/alienation, and refusing to teach him or allow his reasonable accommodations.

16. By way of example and not limitation, on or about September 7, 2018, Mr. Pinckney
    attended his first English class with Underwood and provided her with a hard copy of his
    approved disability accommodations, as she requested. When he did so, Underwood
    chastised him for emailing the accommodations the day before, indicating it was “not
    her policy to accept emailed accommodations” and proceeded to ask him, in the
    presence of the entire class, what disability he has.

17. Mr. Pinckney was completely caught off guard, as it was his understanding that
    professors were not allowed to ask about a student’s disability in this manner. Mr.
    Pinckney was reluctant and embarrassed to disclose the nature of his disability to
    Underwood, so he responded by saying he had a “mental health disability.”

18. In response, Underwood asked again (while students were still present in the classroom)
    what type of mental health disability Mr. Pinckney had. Humiliated, Mr. Pinckney was
    then forced to disclose the nature of his disability, while in the presence of his
    classmates, on the very first day of school. Mr. Pinckney has never before been
    confronted in this manner by a teacher or professor about his disability.

19. Underwood also told him during that same class in the presence of other students that
    he had to go to the Disability Services office because she was dissatisfied with the
    arrangement of his accommodations.

20. That same day, on September 7, 2018, Mr. Pinckney reported these incidents to
    Disability Services and expressed his discomfort at the situation, as well as his concern
    that his diagnosis was a problem in Underwood’s eyes. In response, Disability Services
    admitted that professors were prohibited from inquiring about a student’s
    disability/diagnosis as Underwood had, however, they failed to alert Underwood of this
    or reprimand her in anyway. Instead, Disability Services told Mr. Pinckney to “practices
    comfortable responses” to these kinds of questions in case they arise with another
    professor at the school.

21. In the following months, Underwood routinely refused to provide Mr. Pinckney with his
    documented reasonable accommodations and consistently treated Mr. Pinckney (along
    with other disabled students) differently than non-disabled students, as if he was a
    burden to Underwood because of his disabilities. By way of example and not limitation,
    the following incidents occurred:

22. She would lash out at Mr. Pinckney in the presence of the class when he requested a
    note-taker; she refused to provide him with the notes that she took for the class beyond


                                            3
      Case 4:20-cv-40047-TSH Document 1 Filed 04/29/20 Page 4 of 11




   the first couple weeks; and she informed him that she was not obligated to provide him
   with any notes, even though Disability Services had approved that accommodation.

23. She would not allow Mr. Pinckney to take as-needed breaks during class, in violation of
   his approved accommodations. On more than one occasion, Underwood prevented him
   from even taking a bathroom break and would tell him that if he left class, even just to
   go the bathroom, that he would be marked absent for the entire class. She would even
   lock the door to the classroom at times.

24. Underwood refused to provide Mr. Pinckney with extra time to complete assignments
    and forced him to complete his assignments in the same time frame as non-disabled
    students. Unsurprisingly, his grades suffered as a result.

25. She refused to provide Mr. Pinckney with assistance or support for in-class assignments
    and would not allow questions during in-class assignments, despite Mr. Pinckney’s
    reasonable accommodation allowing for additional assurance/guidance on the
    directions for such assignments.

26. On one occasion the entire class submitted a rough draft of a paper, and Underwood
    corrected everyone else’s draft and handed them back, but refused to make corrections
    on Mr. Pinckney’s paper and did not hand it back to him or provide feedback like she did
    for the other students. Instead, Underwood gave his paper to the Disability Services
    office (along with that of another disabled student) and later forced Mr. Pinckney to
    redo the paper in the Disability Services office, without providing him any support or
    feedback.

27. Anytime Mr. Pinckney or other disabled students would attempt to convey their needs
    to Underwood, she would “out” their status of having a disability in front of the class by
    either publicly discussing their accommodations or shutting them down completely and
    telling them to go to Disability Services.

28. In addition to his first complaint about Underwood’s behavior from September 7, 2018,
    Mr. Pinckney also reported these incidents on numerous other occasions to multiple
    people at QCC, including the staff at the Disability Services office, as well as the Dean of
    Compliance, faculty within the English Program, an Affirmative Action Officer, and the
    Human Resources Department at QCC.

29. On one occasion in September of 2018, Mr. Pinckney reported Underwood’s behavior
    over his need for a notetaker, as described above, and requested a notetaker through
    Disability Services. No immediate action was taken, and he had to wait a month before
    a note-taker was provided and then approved by Underwood. As a result, his
    comprehension of the course’s subject matter and ability to follow along suffered.



                                              4
      Case 4:20-cv-40047-TSH Document 1 Filed 04/29/20 Page 5 of 11




30. On November 12, 2018, Mr. Pinckney reported his complaints against Underwood again
    in an email to the Dean of Compliance, Liz Woods, among others. In his email, Mr.
    Pinckney explicitly specified that he was experiencing disparate treatment based on his
    disability.

31. The next day, on November 13, 2018, Mr. Pinckney met with the Dean Liz Woods in-
    person and again reiterated his complaints against Underwood of disability
    discrimination. In response, the Dean’s proposed solution was that he could stop
    attending class. At this point, no investigation into his complaints was undertaken, and
    no one reprimanded Underwood for the reported conduct, or even discussed it with
    her.

32. Not wanting to jeopardize his grade in the class or run the risk of having to re-take it,
    Mr. Pinckney continued to attend class, despite the ongoing mistreatment by
    Underwood and lack of intervention by QCC. As a result, Mr. Pinckney began to
    experience significant stress, fear, anxiety, and humiliation, which only worsened his
    disability symptoms and decreased his ability to learn.

33. Unfortunately, Underwood’s conduct continued, and on November 20, 2018, Mr.
    Pinckney again reported his complaints, in-person, to the Dean of Compliance as well as
    QCC’s Assistant Director of Human Resources, Sara Simms, who also served as the
    school’s Affirmative Action Officer. At this meeting, Mr. Pinckney was given a copy of
    QCC’s policy on Affirmative Action, Equal Employment, & Diversity and was told that he
    could file a written complaint if he wanted to. No action was taken by QCC after this
    meeting.

34. Underwood subsequently became aware that Mr. Pinckney had made complaints about
    her to the school, and in retaliation, Underwood forced Mr. Pinckney to resubmit
    assignments to the Disability Services office that he had already submitted and even
    required him to have Disability Services sign his work before turning it into her. Upon
    information and belief, no other student in the class was required to do these things.

35. On another occasion, Underwood gave Mr. Pinckney explicit instructions on how to
    complete an in-class assignment, and when he followed her instructions, she proceeded
    to mark all of his answers as incorrect.

36. On December 3, 2018, Mr. Pinckney filed an Affirmative Action Complaint against
    Underwood for her ongoing disability discrimination and attended another meeting with
    school officials thereafter where he reiterated his complaints again. Finally, QCC
    opened up an investigation into Mr. Pinckney’s repeated complaints.

37. On December 7, 2018, Mr. Pinckney met HR/an Affirmative Action Officer to discuss the
    next steps he needed to take throughout the complaint process. At this meeting, the
    school urged him to withdraw from the course, and did not provide additional options.

                                             5
      Case 4:20-cv-40047-TSH Document 1 Filed 04/29/20 Page 6 of 11




38. Several days later, on December 10, 2018 (five days into the “investigation”), the
    Assistant Director of HR/Affirmative Action Officer, upon conferring with the Dean of
    English academics at QCC, told Mr. Pinckney that his “alternative” options were to take
    an “incomplete” for the entire course – without getting credit for all the work he
    completed already - and that he would have to take an additional independent study
    with another professor in the Spring semester in order to make up for it.

39. Ultimately, Mr. Pinckney’s humiliation, discomfort, anxiety, and stress - as a result of
    both Underwood’s conduct and QCC’s mistreatment through its lack of action in
    response to his complaints - became unbearable and he was forced to stop attending
    the class and take the incomplete.

40. The investigation into Mr. Pinckney’s complaints, which consisted of witness
    statements/interviews of multiple students within the class and Disability Services staff,
    subsequently revealed the following:

41. Students reported that Underwood was routinely difficult and would not take the time
    to help students that did not understand assignments;

42. Underwood would not allow questions during in-class assignments, even if there was a
    reasonable accommodation in place;

43. If a student said they were having trouble because of their disability, Underwood would
    address it in front of the entire class and speak about their accommodations publicly;

44. Underwood would “out” disabled students by telling them to go to Disability Services in
    front of other students.

45. On one occasion, Underwood refused to listen to a student in the class who attempted
    to convey their disability needs to the point where the student was forced to come back
    to class with a Disability Services representative in order to speak with her;

46. QCC was aware of Underwood’s history of “outing” students with disabilities in class by
    asking about their accommodations in front of other students (as reported to the
    investigator by a Disability Services staff member); and

47. Students had previously voiced concerns to QCC about Underwood’s “outing” of
    disabled students in class (as reported to the investigator by a Disability Services staff
    member).

48. When confronted with the Preliminary Findings of the investigation and asked to
    respond, Underwood continued to target and discriminate against Mr. Pinckney and
    viciously attempted to undermine his credibility by suggesting that his complaints
    against her were simply the result of the “effects of his disability,” and as such, not to be

                                              6
     Case 4:20-cv-40047-TSH Document 1 Filed 04/29/20 Page 7 of 11




   believed. She even went so far as to include unverified articles from the internet on
   schizophrenia in her response and suggested that Mr. Pinckney’s complaints against her
   should be chalked up to the product of schizophrenic “fear or suspicions regarding
   others’ intentions.”

49. Of note, Underwood has absolutely no medical or psychiatric training/education, or any
    other professional qualification that would even remotely qualify her to render such
    opinions. Further, Underwood is the only professor Mr. Pinckney filed complaints
    against because he did not have any issues or problems of this nature with his other
    professors at QCC, and he never had such issues with other teachers during high school.

50. In the same response, Underwood further targeted Mr. Pinckney’s disability and cited to
    his past medical inpatient history, which occurred well before he ever came to QCC, as a
    suggested basis for why his complaints should not be believed.

51. Underwood’s disdain for Mr. Pinckney’s presence in her class because of his disability
    was even more evidenced in the portion of her response where she attempted to
    abdicate responsibility and indicated that she’s not “Special Education” faculty.

52. Ultimately, the investigation concluded that Underwood violated QCC’s Affirmative
    Action Policy and that her comments and conduct toward Mr. Pinckney were
    “objectively unwelcome” and had the purpose or effect of creating an objectively
    intimidating, hostile, or offensive education environment, unreasonably interfered with
    Mr. Pinckney’s learning performance, and did adversely affect Mr. Pinckney’s
    educational opportunities in the class.

53. Despite the egregious nature of the investigation’s findings, QCC did not reprimand or
    formally discipline Underwood in anyway, rather, QCC merely “recommended” that she
    complete an online training session regarding disability services. Meanwhile, Mr.
    Pinckney – the victim – was forced to withdraw from the course and take an incomplete,
    did not receive any credit for the coursework he completed, and was not refunded the
    cost of the course.

54. As a result of Defendant Underwood and Defendant QCC’s conduct, Mr. Pinckney
    suffered and continues to suffer from significant emotional distress, mental anguish,
    diminished self-esteem, loss of interest/enjoyment in previous educational pursuits,
    financial losses, setbacks in his emotional and educational development, as well as
    worsened disability symptoms.




                                            7
         Case 4:20-cv-40047-TSH Document 1 Filed 04/29/20 Page 8 of 11




                                             CLAIMS

                   CLAIMS OF THE PLAINTIFF AGAINST ALL THE DEFENDANTS

                                        COUNT I
              VIOLATIONS OF SECTION 504 OF THE REHABILITATION ACT OF 1973

   55. The Plaintiff repeats the allegations set forth above as if fully contained herein.

   56. The Plaintiff is a qualified individual with disabilities within the meaning of Section 504
       and the Defendant is a public community college that receives federal funds, and as
       such, must comply with the provisions of Section 504 and the regulations promulgated
       thereunder (34 C.F.R. § 104, et seq.).

   57. The Plaintiff had clearly established rights under the applicable provisions of Section 504
       to participate in and receive the benefits of equal access to the Defendants’ educational
       programs and services and to be free from discrimination based on his disability in the
       provision of those programs and/or services.

   58. At all times relevant to this Complaint, the Defendants acted under the color of state
       law in their official capacities, and in doing so via the aforementioned conduct, willfully
       violated these clearly established rights of Mr. Pinckney.

   59. As a direct and proximate result of the Defendants’ violations of Section 504, the
       Plaintiff suffered and continues to suffer significant damages, including but not limited
       to emotional distress, mental anguish, diminished self-esteem, loss of interest in
       previous educational pursuits, financial harm, setbacks in his emotional and educational
       development, and worsened disability symptoms.

       WHEREFORE, the Plaintiff demands judgment against the Defendants for the above-
described damages, plus punitive damages, attorney’s fees, costs, interest, and further relief to
which he is entitled.

                                       COUNT II
      RETALIATION IN VIOLATION OF SECTION 504 OF THE REHABILITATION ACT OF 1973

   60. The Plaintiff repeats the allegations set forth above as if fully contained herein.

   61. The Plaintiff has a clearly established right under Section 504 to be free from retaliation
       for filing a complaint of discrimination and for his efforts to advocate for his rights under
       Section 504.




                                                 8
         Case 4:20-cv-40047-TSH Document 1 Filed 04/29/20 Page 9 of 11




   62. At all times relevant to this Complaint, the Defendants acted under the color of state
       law in their official capacities, and in doing so via the aforementioned conduct, willfully
       violated Mr. Pinckney’s clearly established right to be free from retaliation.

   63. As a result of the Plaintiff’s attempts to advocate for reasonable accommodations in the
       provision of his education and to enforce his right to be free from discrimination by
       filing complaints against Defendant Underwood, the Plaintiff has incurred educational
       setbacks, endured coercion and intimidation by QCC staff, and was subjected to
       increased discrimination, animosity and unwarranted obstacles in the provision of his
       education – all of which constitute retaliatory actions in violation of Section 504.

   64. As a direct and proximate result of the Defendants’ willful violations of the Plaintiff’s
       right to be free from retaliation, Plaintiff has suffered and continues to suffer significant
       damages, including but not limited to emotional distress, mental anguish, diminished
       self-esteem, loss of interest in previous educational pursuits, financial harm, setbacks in
       his emotional and educational development, and worsened disability symptoms.

       WHEREFORE, the Plaintiff demands judgment against the Defendants for the above-
described damages, plus punitive damages, attorney’s fees, costs, interest, and further relief to
which he is entitled.

                                          COUNT III
  VIOLATIONS OF TITLE II OF THE ADA, AS AMENDED BY THE AMENDMENTS ACT OF 2008, 42
                             U.S.C.A. § 12131, et. seq (“ADAA”)

   65. The Plaintiff repeats the allegations set forth above as if fully contained herein.

   66. At all times relevant to this Complaint, the Plaintiff was a qualified, disabled individual
       within the meaning of the ADAA and as such, was entitled to all the rights afforded
       under Title II of the ADA, as amended, including the right to reasonable
       accommodations in the provision of his education, equal access to educational
       programs/services, and the right to be free from discrimination based on his disability.

   67. At all times relevant to this Complaint, Defendant Underwood acted in her official
       capacity as a Professor, as did other employees of the Defendant QCC in their respective
       positions.

   68. The Defendants, acting under the color of state law, willfully violated Mr. Pinckney’s
       rights and discriminated against him on the basis of his disability, interfered with his
       reasonable accommodations, and denied him the benefits of and excluded him from
       participation in equal access to QCC’s educational programs/services, by way of the
       aforementioned conduct.



                                                 9
         Case 4:20-cv-40047-TSH Document 1 Filed 04/29/20 Page 10 of 11




   69. As a direct and proximate result of the Defendants’ willful violations of the Plaintiff’s
       rights under the ADAA, the Plaintiff has suffered and continues to suffer significant
       damages, including but not limited to emotional distress, mental anguish, diminished
       self-esteem, loss of interest in previous educational pursuits, financial harm, setbacks in
       his emotional and educational development, and worsened disability symptoms.

       WHEREFORE, the Plaintiff demands judgment against the Defendants for the above-
described damages, plus punitive damages, attorney’s fees, costs, interest, and further relief to
which he is entitled.

                                       COUNT IV
                  DEPRIVATION OF RIGHTS IN VIOLATION OF 42 U.S.C. § 1983

   70. The Plaintiff repeats the allegations set forth above as if fully contained herein.

   71. At all relevant times, the Plaintiff had clearly established rights, under both state and
       federal law, to be free from discrimination based on his disability, to be free from
       retaliation for advocating for his rights, to be afforded reasonable accommodations, and
       to enjoy equal access to the benefits of educational programs/services at QCC.

   72. The Defendants, while acting under the color of state law, violated these clearly
       established rights of the Plaintiff and/or acted with deliberate indifference as to such by
       way of the aforementioned conduct.

   73. Defendant Underwood, in her official capacity as a professor, had the authority and
       ability to implement, assist, and provide the reasonable accommodations afforded to
       her disabled students, as well as the authority, ability, and obligation to not discriminate
       against students on the basis of their disability in the provision of these
       programs/services, or deny/exclude them from enjoying equal access to the benefits of
       or participating in QCC’s educational services. As such, Defendant Underwood’s
       conduct and decisions to act/not act, as described above, constituted official policies
       and practices of QCC.

   74. Defendant QCC employees within the Disability Services office, the HR Office, and those
       with Affirmative Action Compliance roles, in their respective official capacities, had the
       authority, ability, and obligation to provide reasonable accommodations to qualified
       students and address and investigate student complaints of discrimination, as well as
       the authority and ability to decide and oversee the manner in which investigations of
       discrimination were conducted, any discipline implemented as a result, and which staff
       members were hired and/or fired. As such, Defendant QCC’s conduct and decisions to
       act or not act, as described above, constituted official policies and practices of QCC.

   75. The Defendant QCC also had actual knowledge of the disability discrimination inflicted
       upon students, including the Plaintiff, by Defendant Underwood via multiple direct

                                                10
         Case 4:20-cv-40047-TSH Document 1 Filed 04/29/20 Page 11 of 11




       reports/complaints made by the Plaintiff to appropriate QCC staff and from prior
       reports/complaints made by other students against Underwood before the Fall of 2018.
       At all times, Defendant QCC had a reasonable opportunity to intervene or stop the
       discrimination, and to discipline Defendant Underwood because of it, but failed to do
       so.

   76. Instead, Defendant QCC was complicit in the behavior and also participated in the
       unlawful behavior, acting with deliberate indifference to the rights of the Plaintiff, as
       well as other students.

   77. As a direct and proximate result of the Defendants’ willful violations of the Plaintiff’s
       clearly established rights under state and federal law, the Plaintiff has suffered and
       continues to suffer significant damages, including but not limited to emotional distress,
       mental anguish, diminished self-esteem, loss of interest in previous educational
       pursuits, financial harm, setbacks in his emotional and educational development, and
       worsened disability symptoms.

       WHEREFORE, the Plaintiff demands judgment against the Defendants for the above-
described damages, plus punitive damages, attorney’s fees, costs, interest, and further relief to
which he is entitled.

                                   DEMAND FOR A JURY TRIAL

       The Plaintiffs demand a jury trial on all claims herein.


                                                     Respectfully Submitted,

                                                     The Plaintiffs,
                                                     By their attorneys,
                                                     KJC Law Firm, LLC

                                                     /s/ John T. Martin______________
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Dated: April 29, 2020



                                                11
